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                  In re National Prescription Opiate Litigation: MDL 2804
                          Plaintiffs’ Summary Judgment Roadmap

  Opposition Name:        Plaintiffs’ Summary Judgment Roadmap

  Opposing Parties:       Plaintiffs Summit County and Cuyahoga County

  Summary: Unlike the other memoranda plaintiffs are filing today in opposition to defendants’
  summary judgment motions, Plaintiffs’ Summary Judgment Roadmap is not intended to be a
  response to any of the defendants’ motions. It does not present evidence or legal argument.
  It is, instead, simply intended to provide a “roadmap” for the Court to help understand the
  organization of plaintiffs’ responses, to identify the summary judgment motions to which each
  memorandum responds, like the roadmap briefing the parties provided to the Court on June
  25th in advance of the filing of the motions, and to summarize for the Court the central issues
  raised by these motions and oppositions.

  This Roadmap Brief alerts the Court that, in order to most clearly and efficiently respond to
  defendants’ motions, and to avoid needless redundancy, plaintiffs have opted not to respond
  separately to each motion for summary judgment, but rather to organize our opposing
  memoranda in a manner that makes logical sense and thereby eases the burden on the Court.
  Plaintiffs are filing 18 separate briefs in opposition to defendants’ 27 summary judgment
  motions, and the Roadmap brief explains the relationship between those 18 responses and the
  27 motions.

  Plaintiffs’ Summary Judgment Roadmap divides defendants’ motions into three groups: 1) a
  group of nine motions, roughly corresponding to the “Tranche One” motions in Special
  Master Cohen’s June 21, 2019 Order (Dkt. # 1709), that collectively raise three significant
  issues that cut across plaintiffs’ claims against all defendants and many of plaintiffs’ causes of
  action: causation, conspiracy or concert of action (including RICO and OCPA), and statute
  of limitations; 2) a second group of seven motions addressing five discrete legal issues or
  categories of defendants: preemption, negligence per se, public nuisance, manufacturers of
  generic opioids, and distributors with allegedly de minimis market shares; and 3) a final group
  of ten defendant-specific motions for summary judgment. The Roadmap brief explains that
  when multiple motions in either of the first two groups address the same central issue,
  plaintiffs have chosen to file a single opposition memorandum on that subject. Plaintiffs are
  also filing separate oppositions to the remaining discrete legal issue motions and the
  defendant-specific motions. .

  Plaintiffs believe that the three categories outlined above roughly correspond with the
  significance of the motions to the overall litigation; Plaintiffs therefore recommend that the
  Court take up the motions in order of these groupings.

  Filing Date:            June 28, 2019
  Response Date:          July 31, 2019
  Reply Date:             August 16, 2019
